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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 20-60827-CIV-SINGHAL/VALLE

  ATP SCIENCE PROPRIETARY, LTD.,
  an Australian proprietary limited
  company, and ATP INSTITUTE
  PROPRIETARY LIMITED, an Australian
  proprietary limited company,

        Plaintiffs,

  v.

  CAESAR BACARELLA, an individual,
  ALPHA PRIME APPAREL, INC., a Florida
  Corporation, and ALPHA PRIME REGIMEN,
  LLC, a Florida limited liability company,

       Defendants.
  ______________________________________/

  CAESAR BACARELLA, an individual,
  ALPHA PRIME APPAREL, INC., a Florida
  Corporation, ALPHA PRIME REGIMEN,
  LLC, a Florida limited liability company, and
  AP SPORTS REGIMEN, INC., a Florida corporation,

        Counter-Plaintiffs,

  v.

  ATP SCIENCE PROPRIETARY, LTD.,
  an Australian proprietary limited
  company, and ATP INSTITUTE
  PROPRIETARY LIMITED, an Australian
  proprietary limited company,

        Counter-Defendants.
  __________________________________________/

                      ORDER ADMINISTRATIVELY CLOSING CASE

        THIS CAUSE is before the Court on the June 25, 2021 Supplemental Mediator’s
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  Report (DE [111]) indicating that the parties have reached a settlement in principle on all

  terms but require additional time to finalize the documents. Accordingly, it is hereby

         ORDERED AND ADJUDGED that this action is administratively CLOSED without

  prejudice to the parties to file a stipulation of dismissal within 60 days of the date of this

  Order. If the parties fail to complete the expected settlement, either party may request

  the Court to reopen the case. Furthermore, the Court retains jurisdiction over the case

  until the settlement is consummated. The Clerk of Court shall CLOSE this case for

  administrative purposes only. Any pending motions are DENIED AS MOOT.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 28th day of

  June 2021.




  Copies furnished to counsel via CM/ECF




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